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 7                           UNITED STATES DISTRICT COURT FOR THE
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9
     SIXIAN CAO                                               CASE NO. 2:21-cv-1292-RSL
10
                                                              JOINT STIPULATION AND
                                    Plaintiff,
11                                                            ORDER TO EXTEND DEADLINE
                            v.
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13
     ALEJANDRO MAYORKAS, et.al.,
14
                                    Defendants.
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            Plaintiff brings this litigation pursuant to the Mandamus Act seeking, inter alia, to
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     compel the U.S. Citizenship and Immigration Services (“USCIS”) to adjudicate Plaintiff’s I-485
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     application for adjustment of status. Dkt. No. 1. Defendants’ deadline to respond to the
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     Complaint is December 3, 2021. Defendants respectfully request a 60-day extension of this
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     deadline to allow the parties to resolve this matter without further litigation. This extension will
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     provide USCIS with the time to process Plaintiff’s application, which will include scheduling
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     interviews of Plaintiff and potentially her husband and son who is located abroad.
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            Accordingly, the parties hereby STIPULATE AND AGREE, AND JOINTLY
24
     REQUEST, that the Court extend the response deadline until February 1, 2022.
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      JOINT STIPULATION                                                   UNITED STATES ATTORNEY
      CASE NO. 2:21-cv-1292-RSL                                          700 STEWART STREET, SUITE 5220
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
              Case 2:21-cv-01292-RSL Document 7 Filed 11/23/21 Page 2 of 3




 1         DATED this 22nd day of November, 2021.
 2                                         Respectfully submitted,
 3

 4                                         NICK W. BROWN
                                           United States Attorney
 5
                                           s/ Michelle R. Lambert
 6                                         MICHELLE R. LAMBERT, NYS #4666657
 7                                         Assistant United States Attorney
                                           United States Attorney’s Office
 8                                         1201 Pacific Avenue, Suite 700
                                           Tacoma, WA 98402
 9                                         Phone: 253-428-3824
                                           Fax: 253-428-3826
10                                         Email: michelle.lambert@usdoj.gov
11                                         Counsel for Defendants

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14

15                                         s/
                                           SIXIAN CAO
16                                         1730 Newport Way
                                           Issaquah, WA 98027
17                                         Phone: 646-234-6961
                                           Email: impkissdog@gmail.com
18
                                           Pro Se Plaintiff
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     JOINT STIPULATION                                          UNITED STATES ATTORNEY
     CASE NO. 2:21-cv-1292-RSL                                 700 STEWART STREET, SUITE 5220
                                                                 SEATTLE, WASHINGTON 98101
                                                                       (206) 553-7970
              Case 2:21-cv-01292-RSL Document 7 Filed 11/23/21 Page 3 of 3




 1                                             ORDER
 2         The Parties having so stipulated and agreed, the Court hereby ORDERS that Defendants’
 3 deadline to respond to the Complaint is extended to February 1, 2022.

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           Dated this 23rd day of November, 2021.
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                                                       ROBERT S. LASNIK
 9                                                     United States District Judge

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     JOINT STIPULATION                                               UNITED STATES ATTORNEY
     CASE NO. 2:21-cv-1292-RSL                                      700 STEWART STREET, SUITE 5220
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
